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                                                                       2020 Oct-16 PM 04:06
                                                                       U.S. DISTRICT COURT
                                                                           N.D. OF ALABAMA


          IN THE UNITED STATES DISTRICT COURT
         FOR THE NORTHERN DISTRICT OF ALABAMA
                  (SOUTHERN DIVISION)

DAVID MILLAN,                       )
                                    )
     Plaintiff,                     )
                                    )
v.                                  )        2:19-cv-01131-AMM
                                    )
EL POBLANO MEXICAN                  )
REST., INC., et al.,                )
                                    )
     Defendants.                    )


              PARTIES’ TRIAL CONFLICT REPORT


     COME NOW the Parties and report the following trial conflicts
for a potential trial setting in April 2021 and May 2021:
Available Weeks:
1.   Available weeks:
        a. April 12, 2021
        b. April 26, 2021
        c. May 3, 2021
2.   Below we provide a list of conflicts to the extent this trial could be
     set on one of those weeks and be a priority over the previously set
     trial.
Trial Conflicts (Rubio & Yearout):
1.   April 5, 2021:
        a. Harrison v. Wal-Mart, 43-cv-2017-00219-JEW (Lee County);

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          b. Munoz v. Premier Kings, 01-cv-2019-901747-JFH (Jefferson
            County).
2.   April 19, 2021:
          a. Cooper v. Wright, 01-cv-2017-905349-CSS (Jefferson County)
3.   April 27, 2021:
          a. Mendoza       v.   KGS     Steel,   Inc.,   68-cv-2016-900611-RLJ
            (Bessemer Division of Jefferson County) (Bench Trial).
4.   May 10, 2021:
          a. Salter   v.    Trussville,    01-cv-2017-900819-PJB     (Jefferson
            County)
          b. Pasaribu v. NFL Logistics, 01-2019-901070-RSV (Jefferson
            County)
          c. Brian’s Carpet v. Locke, 01-cv-2020-900236-CSS (Jefferson
            County)
          d. Nava     v.    Alsafadi,     01-cv-2020-900651-MJH      (Jefferson
            County)
5.   May 17, 2021:
          a. Knox v. Harland, 2:19-cv-00378-RAH-KFP (Middle District).
               i. This case will be mediated in November 2020.
6.   May 24, 2021:
          a. Evans v. State Farm, 01-cv-2020-900533-JFH (Jefferson
            County).
Trial Conflicts (Lewis Page):
     1.     None.




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Dated: October 16, 2020.
Respectfully Submitted,

/s/ Freddy Rubio                    /s/ Jason L. Yearout
Freddy Rubio (ASB-5403-d62r)       Jason L. Yearout, (ASB-4487-t80j)
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                    CERTIFICATE OF SERVICE

      I certify that on October 16, 2020, a true and correct copy of the
foregoing was served by filing it through the court’s electronic filing
system, or if not filed, then sent by electronic mail (or as indicated
below) on the following counsel and/or pro se parties:

     Lewis Page
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     Birmingham, Alabama 35209
     t. 205.939.3900
     e. lewis.page@pagelaw.net
                                    /s/ Jason L. Yearout
                                    Of Counsel


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